United States Disfrieteheaptpo-00036-RJK

Violation Notice

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VAI) E2274803 | Anderson | 42

YOU ARE CHARGED WITH THE FOLLOWING VIOLATION
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Document 1 Filed 01/13/25arRage dr @hdakagelbsel

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(For @suance of an arrest warrant! of surmimons)

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law enforcement officer inthe Feathers District Virgie
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information supplied to me from my follow officer's observation
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Date [imidiyyy) = Office's Signatens

Protub Gauss has been stated for the meuance of e warrant.

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Dale (middyyy) US. Magistrate Judge

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